                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

UNITED STATES OF AMERICA                        )
                                                )      No. 3:03-CR-157
V.                                              )      (PHILLIPS/ GUYTON)
                                                )
GARY L. EMORY                                   )


                       ORDER OF TEMPORARY DETENTION

             This matter came before the undersigned for an initial appearance on a

Petition for Warrant for Offender Under Supervision on March 9, 2009. Traci Plowell,

Assistant United States Attorney, was present representing the government. Jonathan

Moffatt, Assistant Federal Defender, was present representing the defendant. The

defendant was also present. The defendant, through counsel, requested a preliminary hearing

and a detention hearing.      A preliminary and a detention hearing is set before the

undersigned on Thursday, March 12, 2009 at 10:30 a.m.

             The defendant is scheduled for a revocation hearing on Monday, March 23,

2009, at 3:00 p.m., before the Honorable Thomas W. Phillips, United States District

Judge. The defendant stated that he understands that he will remain in custody pending the

hearing. For good cause shown, the defendant’s request not to contest, and to waive the

detention hearing is hereby GRANTED.

             It is therefore ORDERED that:

             (1)     Defendant be detained.;

             (2)     Defendant be committed to the custody of the Attorney



Case 3:03-cr-00157      Document 126      Filed 03/09/09    Page 1 of 2    PageID #: 181
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

           (3)       Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

           (4)       On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                     IT IS SO ORDERED.
                                    ENTER:
                                                s/ C. Clifford Shirley
                                          United States Magistrate Judge




                                            -2-


Case 3:03-cr-00157      Document 126       Filed 03/09/09    Page 2 of 2    PageID #: 182
